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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE: SHERNETTE ANN DACOSTA                          } CHAPTER 13
                                                      }
                                                      } CASE NO. A18-71621-SMS
           DEBTOR(S)                                  }
                                                      } JUDGE SIGLER

                         MOTION TO CONVERT THIS CASE TO ONE
                                  UNDER CHAPTER 7


        COMES NOW MARY IDA TOWNSON, TRUSTEE in the above-referenced matter, and

files this Motion to Convert this Case to One Under Chapter 7. The Trustee respectfully shows

the Court as follows:

                                                 1.

        The Debtor filed for relief under Chapter 13 of Title 11 on December 28, 2018. Debtor’s

case was confirmed by the Court on May 14, 2019. The Debtor’s plan proposes to cure a default

on real estate mortgage and to pay secured, priority and general unsecured creditors a one hundred

percent (100%) dividend based upon the equity in real property.

                                                 2.

        Debtor has failed to comply with this Court's Order requiring regular monthly payments to

the Trustee. The Debtor should have paid $12,610.00. The Debtor has paid a total of $8,678.00,

causing a delinquency of $3,932.00.

                                                 3.

        Debtor’s plan as proposed exceeds sixty (60) months, in violation of 11 U.S.C. Section

1322(d).
Mary Ida Townson, Chapter 13 Trustee
Suite 1600 – 285 Peachtree Center Avenue, N.E.
Atlanta, Georgia 30303
(404) 525-1110
eds@atlch13tt.com
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                                                    4.

        The Debtor’s schedules show real estate located at 220 Kestrel Circle, Covington, Georgia

with a fair market value of $305,000.00. The mortgage holder, Wells Fargo Bank, N.A. filed a

proof of claim in the amount of $96,285.90, thus showing a significant amount of equity in this

property. The Debtor has claims filed in the Chapter 13 case by general unsecured creditors and

the proof of claims have a remaining balance of $22,301.45. The equity in said property appears

to be sufficient to pay a substantial dividend to unsecured creditors and for the Debtor to retain her

exemption.

                                                    5.

        The Trustee respectfully requests that the Court waive the filing fee for the filing of this

Motion; or, in the alternative, that the Court defer the payment of said fee until such time as this

Motion is granted and if there are funds available in the case at that time.

        WHEREFORE, the Trustee requests that this Chapter 13 case be converted to one under

Chapter 7 pursuant to 11 U.S.C. Section 1307(c)(6) to allow a Chapter 7 Trustee to liquidate the

subject property and to pay all creditors with a filed and allowed claim, and for any other relief

that may be just and proper.

        Respectfully submitted this        6th   day of August, 2020



                                                         /s
                                          K. Edward Safir
                                          Attorney for the Chapter 13 Trustee
                                          GA Bar No. 622149




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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE: SHERNETTE ANN DACOSTA                            } CHAPTER 13
                                                        }
                                                        } CASE NO. A18-71621-SMS
         DEBTOR(S)                                      }
                                                        } JUDGE SIGLER

      NOTICE OF HEARING ON MOTION TO CONVERT TO CHAPTER 7 CASE

        PLEASE TAKE NOTICE that MARY IDA TOWNSON has filed a Motion to Convert
this case to one under Chapter 7.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the motion in
Courtroom 1201, United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia at
10:00 a.m. on September 15, 2020.

       “Given the current public health crisis, hearings may be telephonic only. Please check the
“Important Information Regarding Court Operations During COVID-19 Outbreak” tab at the top of the
GANB Website prior to the hearing for instructions on whether to appear in person or by phone.”

        Your rights may be affected by the Court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one). If you do not want the Court
to grant the relief sought in these pleadings or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
address) you served the response. Mail or deliver your response so that it is received by the Clerk
at least two (2) business days before the hearing. The address of the Clerk’s Office is Clerk,
United States Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, S.W., Atlanta, GA
30303, and a copy furnished to the party listed below: c/o Chapter 13 Trustee, Mary Ida Townson,
Suite 1600, 285 Peachtree Center Avenue, N.E., Atlanta, GA 30303

                                                                /s/
                                                 K. Edward Safir
                                                 Attorney for the Chapter 13 Trustee
                                                 GA Bar No. 622149


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                                    CERTIFICATE OF SERVICE

       This is to certify that on this day I caused a copy of the foregoing pleading to be served
via United States First Class Mail, with adequate postage thereon, on the following parties at the
address shown for each:

DEBTOR(S):

Shernette Ann Dacosta
220 Kestrel Circle
Covington, GA 30014

       I further certify that I have on this day electronically filed the pleading using the
Bankruptcy Court's Electronic Filing program, which sends a notice of this document and an
accompanying link to this document to the following parties who have appeared in this case
under the Bankruptcy Court's Electronic Case Filing program:

SLIPAKOFF & SLOMKA, PC


This   6th     day of August, 2020



       /s/
K. Edward Safir
Attorney for the Chapter 13 Trustee
GA Bar No. 622149




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